  Case 1:22-cv-00953-JS Document 284 Filed 07/29/22 Page 1 of 1 PageID #: 36



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                    _________________

                                 GAIL SHIPMAN, ET AL.

                                              V.

                         SIGNODE INDUSTRIAL GROUP LLC

                              Civil Action No. 1:22-cv-00953

                                    _________________


                   DESIGNATION OF DISTRICT JUDGE
             TO HOLD A DISTRICT COURT WITHIN THE CIRCUIT

                           ______________________________

       Pursuant to 28 U.S.C. § 292(b), and finding that it is in the public interest to do so,

I hereby designate and assign the Honorable Juan R. Sanchez of the United States District

Court for the Eastern District of Pennsylvania for such a period as is necessary for the

disposition of the above-entitled matter and all related cases.




                                                   s/ Michael A. Chagares
                                                   Michael A. Chagares, Chief Judge
                                                   United States Court of Appeals
                                                   For the Third Circuit


Dated: July 29, 2022
